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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO
EARL MAYFIELD,
Plaintiff,

Vv. Case No. 20-cv-0952 KG-LF

LT. JACKSON, and
C.0. CLOUD,

Defendants.
FINAL JUDGMENT
Pursuant to Fed. R. Civ. P. 58(a), and consistent with the Memorandum Opinion and Order
filed contemporaneously herewith, the Court issues its separate judgment finally disposing of this

civil case.

IT IS ORDERED, ADJUDGED, AND DECREED that this civil action is dismissed

without prejudice.

 

UNIThD STATES ISTEICT JUDGE
